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80. This was all accomplished by the Siivias through
companies incorporated by Dunning’s law firm, Dunning & Kirrane,
L.L.P. The firm incorporated Silvia Aviation, LLC on January 22, -
2004, which became Silvia Aviation I, LLC on January 10, 2005.
Silvia Aviation I is owned by Floyd Silvia. Then, on August 9,
2004, Kevin M. Kirrane, Dunning’s partner, incorporated Silvia
Aviation II which is owned by Ronald Silvia. Both company’s
leases were purportedly executed on August 13, 2004, before
Silvia Aviation I existed as a legal entity. On December 29,
2004, Rectrix made a request to the Airport under the Freedom of
Information Act for all leases of Airport tenants. On February
3, 2005, in response to Rectrix’s request, Mosby sent by
certified mail to Rectrix a copy of “all leases.” However, copies
of the two Silvia leases were not included in the response.

81. When Cawley asked another BMAC Commissioner how the
Silvias could get through the permitting process so quickly and
effortlessly compared with the battle that Rectrix has fought at
every turn, the Commissioner suggested that Rectrix’s mistake was
that it did not hire the law firm of Dunning & Kirrane, L.L.P. to
do Rectrix’s legal work. When Cawley noted that it would be
unethical and a conflict of interest to do so, the Commissioner

Said, in substance, “That’s the way things are done on the Cape.”

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COUNT ONE
(Racketeering Against All Defendants Except
the BMAC for Violation of 18 U.S.C. § 1962(a),
as an Associated-in-Fact Enterprise)

82. Rectrix repeats and realleges paragraphs 1 through 381
as if fully set forth herein.
A. The Enterprise

§3. Defendants the BMAC, Dunning, Gilmore, Mosby, Sanchez
and Wheatley, together with the Airport, the Town and the Town’s
Finance Director, as well as others unknown to plaintiff,
constitute an “enterprise” of individuals and entities associated
in fact as defined by 18 U.S.C. § 1963(4) (the “Enterprise”).
This Enterprise, which operates in the District of Massachusetts
and elsewhere, is engaged in and its activities affect interstate
commerce.

1. Purposes of the Enterprise

84. The purposes of the Enterprise include, among other
things, a scheme to (i) wrongfully prevent others, including
Rectrix, from selling jet fuel in competition with the BMAC’s
monopoly on the sale of jet fuel; (11) illegally divert for Town
use monies required by federal law to be expended on the Airport;
(iii) fraudulently obtain millions of dollars in federal grant
monies by making or causing to be made false representations to
the FAA; and (iv) defraud the Town and its citizens, including
Rectrix, of the intangible right of honest services cf its public

officials by, among other things, fraudulently concealing the

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Minimum Standards from Rectrix and others, retaliating and
discriminating against Rectrix and corruptly maintaining the
BMAC’s monopoly on the sale of jet fuel. Defendants used their
positions with the BMAC and the Airport to obtain benefits for
the Airport, the BMAC, the Town, themselves and others through
corrupt means.

2. Members of the Enterprise

85. Defendants Dunning and Gilmore have been the leaders
of the Enterprise since about 2001.

86. Defendant Dunning was the Chairman of the BMAC from
2001 until approximately June 2005 and, along with defendant
Gilmore, exercised effective control over many aspects of the
BMAC. Defendant Dunning continues to be a Commissioner of the
BMAC and exercised substantial control over its business.

By. Defendant Gilmore is and for all times relevant to
this Complaint was Counsel to the BMAC. He is responsible for
the legal affairs of the BMAC and, along with defendant Dunning,
exercises effective control over many aspects of the BMAC.

88. Defendants Mosby and Wheatiey are associated with and
conduct and participate, directly and indirectly, in the conduct
of the Enterprise’s affairs.

B89. Defendant Mosby is and for all times relevant to this
Complaint was the Manager of the Airport. As Airport Manager --

a full time, paid position appointed by the BMAC -- Mosby is

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charged with the duty to administer, protect and control the
operation, security and maintenance of the Airport.

90. Defendant Sanchez is the Airport Assistant Manager and
a subordinate of Mosby.

QI, Defendant BMAC, although not named as a defendant in
the RICO claims, is a member of the Enterprise. The BMAC was
created by a vote of the Town to maintain and operate the
Airport. The BMAC was controlled in part by defendants Dunning
and Gilmore who used it te carry out the illegal objectives of
the Enterprise.

92. The Airport is a member of the Enterprise. The
Airport is controlled by defendants the BMAC, Dunning, Gilmore,
Wheatley, Mosby and Sanchez and was and is used by these
defendants to carry out the iilegal objectives of the Enterprise.

93. The Town’s Department of Finance is a member of the
Enterprise. The Department of Finance is used to carry out the
illegal objectives of the Enterprise and is controlled by the
Finance Director for the Town of Rarnstable, who is also a member
of the Enterprise. The Finance Director is directly responsible
for various federal and local reports submitted to the FAA
through the mail and over the wires.

94. Others known and unknown to Rectrix were and are

associated with, conducted and participated, directly and

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indirectiy, in the conduct of the Enterprise’s affairs, including
but not limited to mail and wire fraud.
B. The Illegal Conduct

1. Defendants’ Illegal Revenue Diversion
And Fraudulent Grant Applications

95. Instead of using Airport funds solely for the “capital
or operating costs of the airport,” as they were required under
federal law to do, defendants diverted a significant amount of
the Airport’s revenues to fund Town expenses, including but not
limited to salaries of town employees unrelated to the operation
of the Airport.

96. A comparison of the amounts reported to the FAA as
being paid by the Airport to the Town with public statements by
defendants and Town financial records corroborate admissions made
by certain defendants that Airport revenues were being diverted
and these records confirm that the Enterprise falsely reported to
the FAA the amounts paid by the Airport to the Town. For
example, defendants Dunning and Mosby have bragged about how much
money the Airport gives tc the Town, however, a much smaller
amount of money was reported to the FAA. Indeed, defendant Mosby
was quoted at a Town Council meeting in 2005 as saying, “This
little airport is a good littie golden goose for this town,” even
though, under federal law, the Airport should never produce any

“gold” for the Town.

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97. Airport sponsors receiving federal money are required
by grant assurances and FAA policy to report annual income and
expenses on a form known as FAA Form 127. They also must report
all amounts paid by the airport to other units of government --
including to municipalities such as the Town of Barnstable -- and
the purpose of such payments on a form known as FAA Form 126.

The Town budget for fiscal year 2003 shows that $615,609 was
budgeted for reimbursement from the BMAC to the Town while the
FAA Form 126 for that year reports that only $365,609 was paid to
the Town. Similarly, on its fiscal year 2003 FAA Form 127, the
BMAC reported te the FAA that it had total revenues of $3,568,384
while the Town’s “Statement of Revenues, Expenses and Changes in
Fund Equity” for the same fiscal year reported that the BMAC
actually had total revenues of $5,706,851. The FAA Form 127 for
that year also reported that the BMAC had a net income of
$387,549 while Town records for that year show a net income of
$1,050,209,

98. Members of the Enterprise also obtained additional
grant monies for the Airport by mailing or causing to be mailed
te the FAA grant applications that contained faise and fraudulent
representations and promises concerning the use of grant monies
and the Airport’s future compliance with the grant assurances.

In each of the applications for grant money. from 2000 to 2005,

the BMAC was required to represent that {a) it would not expend

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grant monies for any uses other than Airport use, {b) it would
report annually all amounts paid by the Airport to any other
governmental unit, and (¢) it would comply with other grant
assurances including those relating to self-fueling and the sale
of aviation fuel products. In fact, at the time the BMAC made
the required representations, the members of the Enterprise
intended to continue diverting Airport revenues for use by the
Town and intended to wrongfully maintain its monopoly on the sale
of jet fuel. Indeed, when most of these representations were
made, members of the Enterprise were fraudulently concealing the
existence of the Minimum Standards. As a result of these false
and fraudulent representations, the Airport was abie te obtain
millions of dollars in federal grant monies.

2. Pattern of Racketeering Activity

99, From in or before 2001 and until the present,
defendants Dunning, Gilmore, Mosby, Sanchez and Wheatley were
associated with an enterprise, as that term is defined in 18
U.S.C. § 1961(4), consisting of a group of persons associated in
fact, to wit, Dunning, Gilmore, Mosby, Sanchez, Wheatley, the
Airport, the BMAC, the Department of Finance of the Town of
Barnstable and its Finance Director for the period from in or
before 2001 and continuing until the present (the “Association-
in-Fact Enterprise”), which engages in, and whose activities

affect, interstate commerce, and, being associated with the

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Association-in-Fact Enterprise, defendants did knowingly,
Wilifully and unlawfully conduct and participate, directly and
indirectly, in the conduct of the affairs and activities of the
Association-in-Fact Enterprise through a pattern of racketeering
activity, that is, the commission of racketeering acts set forth
herein, which included acts indictable under 18 U.S.C. § 1341
(mail fraud}, 18 U.S.C. § 1343 (wire fraud) and 18 U.S.C. § 1346
{honest services).

100. The objectives of defendants’ fraudulent pattern of
conduct were to (1) prevent others, including Rectrix, from
selling jet fuel in competition with the BMAC’s monopoly on the
sale of jet fuel; (11) divert revenues from the Airport to the
Town of Barnstable; (i111) fraudulently obtain funding from the
federal government; and (iv) deprive the citizens of the Town of
Barnstable of their right to honest services of public officials.
By their knowing and wiiiful misconduct, defendants have caused
harm to Rectrix, other Airport tenants and the citizens of the
Town of Barnstable, all as set forth herein.

101. In furtherance of their schemes to defraud,

defendants, among other acts, did the following:

° concealed the relevant and necessary Minimum Standards,
which govern regulations for safety and operations at
the Airport, from Rectrix, other FBOs and engineers
charged with designing the Airport;

° attempted to pass off Self-Service Standards that
allowed the Airport wrongfully to maintain exclusivity

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on the sale of jet fuel as the only governing

standards;

* filed fraudulent forms with the FAA containing false
figures about the use of the Airport’s revenues;

° fraudulently obtained millions cf dollars in federal

grant monies between at least 2000 and 2005 by making
false grant assurances, including misrepresenting use
of Airport revenues;

e diverted monies from the Airport to support Town
expenses that are not related to the operation of the
Airport;

e favored tenants who were clients of or had used the
legal services of the law firms of Dunning and Gilmore;

° delayed the opening of Rectrix’s hangar by tortiously

interfering with its engineers and consistently
postponing necessary approvals;

e delayed and thwarted Rectrix’s ability to self-fuel and
to fuel planes it manages, including by forcing Rectrix
to enter into an MOU to self-fuel and to fuel planes it
manages and then breaching the MOU;

. completely denied Rectrix the right to sell jet fuel to
third parties; and
e failed to give Rectrix’s requests the fair and honest

consideration they were due.

102. To achieve their objectives and in furtherance of
their schemes to defraud, defendants engaged in and their conduct
as alleged herein constituted a pattern of racketeering activity.

103. As part of their racketeering activities and in
furtherance of their schemes to defraud, each of the defendants
as set forth herein knowingly, willfully and unlawfully
transmitted and/or caused to be transmitted, by means of wire,
writings, signs, signals, pictures and sounds, to wit,
communications via facsimile, e-mail and telephone, in interstate
commerce, as alleged herein, in violation of 18 U.S.C. §§ 1343

and 1346. Specifically, on or about the dates set forth below,

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defendants as set forth herein did transmit and/or cause to be
transmitted by means of wire communications in interstate
commerce communications that either contained faise
representations or were made in furtherance of defendants’
schemes to defraud, including, among others, the following

transmissions known to Rectrix at this time:

BMAC, Sanchez,
10/18/2000 2000 FAA Form 126 Finance Director
to FAA

10/18/2000 2000 FAA Form 125 vinenne pieestor
{later became FAA Form 127)

to FAA
11/05/2001 2001 FAA Form 126 BMAC to FAA
BMAC, Mosby,
11/05/2001 2001 FAA Form 127 Finance Director
to FAA
2002 2002 FAA Form 126 BMAC to FAA
2002 2002 FAA Form 127 BMAC to FAA
BMAC, Finance
10/24/2903 2003 FAA Form 126 Director to FAA
BMAC, Mosby,
10/24/2003 2003 FAA Form 127 Finance Director
to FAA
2004 2004 FAA Form 126 BMAC to FAA
2004 . 2004 FAA Form 127 BMAC to FAA
01/22/2004 Fax copy of “Self-Service Standards” with BMAC to Rectrix

fax cover re “BMA Standards”

Phone call with Mosby saying Self-Service

January 2004 Standards were all that existed.

Cawley to Mosby

Phone call with Mosby denying existence of

June 2004 Minimum Standards Cawley to Mosby
06/21/2004 Phone call with Sanchez re Minimum Cawley to Sanchez
Standards
November Phone call with Wheatley
2004 admitting revenue diversion Wheatley to Cawley
2005 - 2005 FAA Form 126 BMAC to FAA
2005 2005 FAA Form 127 BMAC to FAA

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104. As part of their pattern of racketeering activity and
in furtherance of and to assist their scheme and artifice to
defraud Rectrix, defendants also knowingly, willfully and
unlawfully, in violation of 18 U.S.C. §§ 1341 and 1346, did place
and/or did cause to be placed in a post office or authorized
depository for mail matter, any matter to be sent or delivered by
the Postal Service, deposited or caused to be deposited any
matter to be sent or delivered by any private or commercial
interstate carrier, or took or received therefrom, any such
matter, or knowingly caused to be delivered by mail or such
carrier according to the direction thereon, or at the piace at
which it is directed to be delivered by the person to whom it is
addressed, any such matter, that either contained false
representations or was made in furtherance of defendants’ schemes
to defraud as set forth herein, including, among others, the

following mailings known to Rectrix at this time:

Pisin et beeeltgereyia ty heey ESE eae sie ray EE ee ae CY ERG ae oy eee Sit
03/24/2003 Letter attaching “original lease” without BMAC to Counsel
Minimum Standards attached for Rectrix
Response to FOIA request for all leases
02/03/2005 that did not include Silvia Leases. Sent Mosby to Rectrix
by certified mail.

105. In addition, as set forth below, defendants knowingly,
wilifully and unlawfully, in violation of 18 U.S.c. §$§ 1341 and

1346, did place and/or did cause to be placed in a post office or

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authorized depository for mail matter,

delivered by the Postal Service,

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any matter to be sent or

deposited or caused to be

deposited any matter to be sent or delivered by any private or

commercial interstate carrier,
such matter,

carrier according to the direction thereon,

or took or received therefrom, any
or knowingly caused to be delivered by mail or such

or at the place at

which it is directed to be delivered by the person to whom it is

addressed, any such matter, that either contained false
representations or was made in furtherance of defendants’

te defraud, including, among others, the following grant

schemes

applications submitted to the FAA and the foilowing grants from

the FAA associated with such applications known to Rectrix at

this time:

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Application For Grant To “Conduct Airport

$103,241

Master Plan Study” -- Grant 028-2000
Application For Grant To “Conduct
2001 Environmental Study” -- Grant 029-2001 951,304
Application For Grant To “Rehabilitate
2001 Taxiway/Apron” -~- Grant 030-2001 $335,649
Application For Grant To “Acquire Land For
2001 Approaches” ~- Grant 031-2001 $2,822,187
Application For Grant To “Improve Runway
2002 Safety Area - 33; Security Enhancements” $806,815
-~- Grant 033-2002
Application For Grant For “Security
2002 Enhancements” -- Grant 034-2002 9274, 495
Application For Grant To “Construct Runway
2003 Safety Area - 6-24” ~- Grant 035-2003 $2,812,094
Application For Grant To “Construct Runway
2003 Safety Area - 33” -- Grant 036-2003 F168, 952
Application For Grant To “Improve Runway
2004 Safety Area ~ 33” -- Grant 037-2004 2,663,450

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Application For Grant To ‘Acquire Snow

2004 Removal Equipment” -- Grant 038-2004 8194, 736
Application For Grant To “Improve Runway

2004 Safety Area ~ 33” -- Grant 039-2004 $888,174
Application For Grant To “Acquire Aircraft

2005 Rescue & Fire Fighting Vehicle; Acquire $727,890
Snow Removal Equipment” -- Grant 040-2005

Application For Grant To “Construct

200° Terminal Building” -- Grant 041-2005 1,197,000
Application For Grant To “Update Airport

2005 Master Plan Study” ~- Grant 042-2005 988,350

106. Certain information regarding defendants’ internal and
external

their pattern of fraudulent conduct,

communications relating to, and in furtherance of,

including, but not limited

to, telephone, e-mail communications and mailings is not

entirely available to Rectrix or the

within the possession and control of

parties known and unknown to Rectrix.

107.

As a direct result of defendants’ pattern

general public and lies

defendants and third

of

racketeering activity, Rectrix was harmed by defendants’ schemes

to {1) deprive the public of its right to honest services; (i1}

divert funds from the Airport to the Town; (iii) illegally

obtain grant money from the FAA; and (iv) maintain a monopoly on

the sale of jet fuel. To support these schemes, defendants

engaged in the conduct described above that resulted in Rectrix

being delayed and thwarted from becoming an FBO, treated

differently than other FBOs,

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delayed and thwarted in its right

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to self-fuel and to sell jet fuel to third parties and damaged
in an amount to be proven at trial.

108. Rectrix, therefore, is entitled to recover from
defendants the amount in which it has been damaged, to be
trebled in accordance with 18 U.S.C. § 1964{(c}, tegether with
interest and the costs of this suit, including attorneys’ fees.

COUNT TWO
(Racketeering Against All Defendants Except the BMAC
for Violation of 18 U.S.C. § 1962(c),
Alternatively, the BMAC as the Enterprise)

109. Rectrix repeats and realleges paragraphs 1 through 108
as if fully set forth herein.

110. This Count is pled in the alternative to the
allegations of an Association-in-Fact Enterprise set forth in
Count One.

Lil. From in or before 2001 and until the present,
defendants Dunning, Gilmore, Mosby, Sanchez and Wheatley were
associated with an enterprise, as that term is defined in 18
U.S.C. § 1961(4) consisting of the BMAC From in or before 2000
to date {the “BMAC Enterprise”), which engages in, and whose
activities affect, interstate commerce, and, being associated
with the BMAC Enterprise, defendants did knowingly, willfully
and unlawfully conduct and participate, directiy and indirectly,
in the conduct of the affairs and activities of the BMAC

Enterprise through a pattern of racketeering activity, that is,

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the commission of racketeering acts set forth herein, which
included acts indictable under 18 U.S.C. § 1341 {mail fraud), 18
U.S.C. § 1343 (wire fraud) and 18 U.S.c. § 1346 (honest
services).

112. As a direct result of defendants’ pattern of
racketeering activity set forth above, Rectrix was harmed by
defendants’ schemes to (i) deprive the public of its right to
honest services; (ii) divert funds from the Airport to the Town;
and (iii) illegally obtain grant money from the FAA. To support
their schemes, defendants engaged in the conduct described above
that resulted in Rectrix being delayed and thwarted from
becoming an FBO, treated differently than other FBOs, delayed
and thwarted in its right to self-fuel and to sell jet fuel, in
an amount to be proven at trial.

113. Rectrix, therefore, is entitled to recover from
defendants the amount in which it has been damaged, to he
trebled in accordance with 18 U.S.C. § 1964(c}, together with
interest and the costs of this suit, including attorneys’ fees.

COUNT THREE

(Conspiracy to Commit RICO Violations, Against All Defendants
Except the BMAC, for Violation of 18 U.S.C. § 1962 (d))

114. Rectrix repeats and realleges paragraphs 1 through 113
as if fully set forth herein.
1i5. From in or about 2001 and until the present,

defendants, being persons associated with an Enterprise which

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men or,

engaged in, and whose activities affected, interstate commerce,
knowingly, wiilfully and unlawfully conspired and agreed to
conduct and participate, directly and indirectly, in the conduct
of the affairs and activities of the Enterprise through a
pattern of racketeering activity, in violation of 18 U.S.C. §§
1962(¢) and 1962{d), by each defendant agreeing to personally
commit or aid and abet the commission of at least two of the
acts of racketeering charged herein.

116. The objects of the conspiracy were to (i) prevent
Rectrix from selling jet fuel in competition with the BMAC’s
monopoly on the sale of jet fuel; (11) continue to divert
revenues from the Airport to the Town of Barnstable; (iii)
fraudulently cbtain funding from the federal government; and
(iv) deprive the citizens of the Town of Barnstable of their
right to honest services of public officials. Defendants’
fraudulent schemes were furthered and assisted by acts of mail
and wire fraud described above.

117. Rectrix, therefore, is entitled to recover from
defendants the amount in which it has been damaged, to be
trebled in accordance with 18 U.S.C. § 1964(c), together with
interest and the costs of this suit, including attorneys’ fees,

as determined at trial.

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COUNT FOUR
{Against the BMAC, Dunning, Gilmore, Mosby and Wheatley
for Violation of Section 2 of the Sherman Act)

118. Rectrix repeats and realleges paragraphs 1 through es
as if fully set forth herein.

119. The sale of Yet fuel is the relevant product market
and consists of at least two relevant sub-markets: the sale of
jet fuel through self-fueling and the sale cof jet fuel to third
parties. The Airport is the relevant geographic market for the
Sale of jet fuel in the area, including the relevant sub-
markets, because it is impractical and costly for jet-propelled
aircraft to fuel elsewhere when they are in need of fuel to fly
out of the Airport. Thus, the sellers of jet fuel at the
Airport can only be in competition with each other and at
present there is no competition for selling Jet fuel to third
parties.

120. Due to its governmental power to restrict economic
activity at the Airport, the BMAC and those acting on its
behalf, inciuding defendants Dunning, Gilmore, Mosby and
Wheatley have the power to regulate and restrict competitors
such as Rectrix from selling fuel at the Airport. Thus, the
BMAC and those who control it possess “monopoly power” in the
jet fuel market at the Airport, including the power to determine

the price for jet fuel.

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121. The creation and maintenance of the monopoly on the
self-fueling and third-party jet fuel markets exceeds the power
granted to the BMAC either expressly or by necessary implication
of Massachusetts or federal law and is net undertaken pursuant
to any state policy or valid business justificaticn. The BMAC
had no right to a monopoly on self-fueling planes using jet
fuel. Even if the BMAC had the lawful right to create a
monopoly on the sale of jet fuel to third parties, they have
given up that right both in adopting the Minimum Standards and
by allowing other FBOs to sell aviation fuel for propeller
planes. Therefore, the Airport’s monopoly on the sale of jet
fuel to third parties is discriminatory and unlawful.

122. The BMAC and defendants Dunning, Wheatley, Mosby and
Gilmore have engaged in anticompetitive, dishonest,
discriminatory and unlawful means to maintain the Airport’s
monopoly in the sale of jet fuel, including (1) concealing from
Rectrix the Minimum Standards that expressly provide for FBOs to
sell jet fuel and instead falsely passing off the Self-Service
Standards as the only relevant and governing rules and
regulations at the Airport; (ii) impeding Rectrix’s ability to
self-fuel its planes; (iii) forcing Rectrix to purchase jet fuel
from the BMAC monopciy to self-fuel the planes it owns; (iv)

precluding Rectrix from fueling planes it operates, leases or

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manages; and (v) entirely precluding Rectrix from selling jet
fuel to third parties.

123. Rectrix has been damaged by the unlawful monopoly
power exercised by the BMAC, Dunning, Gilmore, Mosby and
Wheatley on jet fuel sales at the Airport in that Rectrix has
lost the profits it would have earned from the sale of jet fuel
to its customers and has paid more than it otherwise would have
to fuel the aircraft that it owns, operates or manages, and has
instead had to pay the price as determined by the Airport for
purchasing jet fuel.

124. The monopoly perpetrated by defendants affects a
substantial amount of interstate commerce by, among other
things, channeling fuel sales to the BMAC and away from other
potential fuel vendors and artificially increasing the costs of
jet fuel because the Airport does not engage in competitive
bidding for its purchase of jet fuel and has no competitor in
Che sales of such fuel.

125. The actions of defendants with respect to the sale of
jet fuel pose a continuing threat to free, unrestrained and
competitive interstate trade.

126. Accordingly, defendants the BMAC, Dunning, Mosby,
Wheatley and Gilmore have maintained a monopoly in violation of

Section 2 of the Sherman Act.

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127. Wherefore, Rectrix is entitied to an order enjoining
defendants from restricting Rectrix from seif-fueling and
selling jet fuel to third parties subject to reasonable safety
restrictions and awarding Rectrix damages in an amount to be
proven at trial, to be trebled, including costs and attorneys’
fees.

COUNT FIVE
(Against the BMAC, Dunning, Gilmore, Mosby and Wheatley

for Violation of Massachusetts Antitrust Act,
Mass. Gen. Laws Ch. 93 § 4)

128. Rectrix repeats and realleges paragraphs 1 through 127
as if fully set forth herein.

129, As set forth above in Count Four, Rectrix has alleged
claims against defendants the BMAC, Dunning, Gilmore, Mosby and
Wheatley under section 2 of the Sherman Act. Accordingly and
pursuant to Ch. 93 § 1 of the Massachusetts General Laws,
defendants have violated the Massachusetts Antitrust Act.

130. Therefore, defendants are liable for Rectrix’s damages
in an amount to be proven at trial.

COUNT SIX
(Against the BMAC, Dunning, Gilmore, Mesby, Sanchez and Wheatley
for Violation of § 1983 Denial of Equal Protection)

131. Rectrix repeats and realleges paragraphs 1 through 130
as if fully set forth herein.

132. As set forth above, the BMAC, Dunning, Gilmore, Mosby,

Sanchez and Wheatley acting under the color of law, have

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consistently discriminated against Rectrix and treated them
differentiy from other lessees and those seeking to be FBOs at
the Airport in an effort to deter Rectrix from its attempts to
operate an aviation services facility with jet fueling services.
Such actions are wholly unrelated to any rational or legitimate
state interest and are in violation of the right to equal
protection guaranteed by the Fourteenth Amendment to the United
States Constitution.

133. The BMAC allows other FBOs to self-fuel and to sell
the type of fuel the planes using such FBOs’ hangars or ramps
require. Yet, Rectrix “self-fuels” through an Air Cape Cod fuel
tank and a restrictive MOU. Rectrix cannot sell the fuel it
uses unlike other FBOs at the Airport and, despite the terms of
the MOU, Rectrix is now allowed to fuel only aircraft it owns.

134, In addition, the BMAC allowed the Silvias to
circumvent the CCC by building two hangars each under the 10,000
square foot minimum provided by the Minimum Standards, but with
a combined total well in excess of the CCC’s threshold for
review. The BMAC also has given the Silvias rental abatements
and provided other favorabie lease terms to them that are not
included in the Rectrix lease as described above. Further, the
BMAC allowed the Silvias greater ramp access and usage than

Rectrix’s use of its ramp.

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135. In sum, the BMAC has discriminated against Rectrix in
constructing and operating its hangar, has tried to stop Rectrix
from fully operating at the Airport and has made the entire
process as difficult as possible. The BMAC even accused Rectrix
ef being in default of its lease without real -- as opposed to
pretextual --legal or factual basis.

136. Defendants’ discriminatory actions impinged on
Rectrix’s ability to do business at the Airport. Thus,
defendants viclated § 1983 and are responsible for the damages
Rectrix suffered as a result.

COUNT SEVEN
(Against the BMAC, Dunning, Gilmore, Mosby and Wheatley

for Retaliation against Plaintiffs for Exercising
Constitutionally Protected Rights of Free Speech and Redress)

137. Rectrix repeats and realleges paragraphs 1 through i136
as if fully set forth herein.

138. Rectrix has for several years been very vocal about
its opposition te the BMAC’s monopoly on the sale of jet fuel,
the BMAC’s unlawful revenue diversion and the BMAC’s
discrimination, including the BMAC’s discriminatory and improper
treatment of the Silvias which resulted in a criminal
investigation into the approval of the Silvia leases.

i139, As described above, the BMAC, Dunning, Gilmore, Mosby
and Wheatley, acting under color of law, have consistently and

intentionally retaliated against Rectrix for attempting to

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compete with the BMAC’s monopoly on the sale of jet fuel, for
disclosing the true Minimum Standards and the BMAC’s fraudulent
concealment of those standards, and for speaking about and
asserting its right to petition the FAA for redress concerning
the BMAC’s unlawful, discriminatory and retaliatory conduct at
the Airport. Most recently, defendants have even threatened to
evict Rectrix from the Airport.

140. Rectrix is entitled to an order enjoining the BMAC,
Dunning, Gilmore, Mosby and Wheatley from harassing Rectrix in
retaliation for exercising its constitutionally guaranteed
rights, including but not limited to an order preventing the
BMAC from wrongfully evicting Rectrix from the Airport, and for
attorneys’ fees and costs of this suit.

COUNT EIGHT

{Against Dunning, Gilmore, Mosby, Sanchez
and Wheatley for Civil Conspiracy)

141. Rectrix repeats and realleges paragraphs 1 through 140
as if fully set forth herein.

142. As set forth above, defendants Dunning, Gilmore,
Mosby, Sanchez and Wheatley engaged in a common design to
unlawfully divert funds from the Airport to the Town of
Barnstable, to obtain FAA funds by misrepresenting the use of
Airport revenues, and to defraud the public of the honest

services of public officials.

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143. In furtherance of these acts, these defendants
conspired to conceal the existence of the Minimum Standards from
Rectrix, engaged in a pattern of acts that delayed and
frustrated Rectrix’s ability to operate its corporate hangar at
full capacity, including delaying requisite approvals,
interfering with business contracts and attempting to restrict
ingress and egress to the hangar, as weil as refusing to allow
Rectrix to sell jet fuel.

144. The actions of defendants were willful, malicious and
Fraudulent.

145. Such acts caused damages to Rectrix in an amount to be
proven at trial.

146. Defendants named herein are jointly and severally
liable for their tortious acts.

COUNT NINE
(Against the BMAC and Dunning for

Tortious Interference With Contractual
And Prospective Business Relations -- Horsely Witten)

147, Rectrix repeats and realleges paragraphs i through 146
as if fully set forth herein.

148. Defendants the BMAC and Dunning knew that Rectrix had
entered into an agreement with Horsley Witten to design and
construct Rectrix’s hangar at the Airport. Defendants also knew

that Rectrix planned to engage Horsley Witten to perform

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additional work for Rectrix at the Airport, including plans to
develop a fuel farm.

149. Defendants knowingly and intentionally interfered with
Rectrix’s ability to contract with Horsley Witten by demanding
that Horsley Witten cease certain work for Rectrix at the
Airport. Defendants threatened Horsley Witten that if it did
not cease working for Rectrix, and in particular any proposed
plans concerning a fuel farm, the Airport would no longer use
Horsley Witten for its own more lucrative projects, such as the
construction of the new Airport terminal.

150. Because of defendants’ actions, Horsiey Witten refused
to perform certain work for Rectrix. Rectrix then hired other
engineering firms to perform such work at considerable cost and
delay to the fuel farm project and Rectrix’s ability to do
business.

151. The actions of defendants were willful and morally
reprehensible.

152. Rectrix was damaged by defendants’ tortious
interference in an amount to be proven at trial but not less

than $50,000.

COUNT TEN
(Against the BMAC for Breach of Covenant
of Good Faith and Fair Dealing -- Rectrix Lease)

153. Rectrix repeats and realleges paragraphs 1 through 153

as if fully set forth herein.

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154. The BMAC and Rectrix entered into the Rectrix Lease,
as well as amendments thereto. The BMAC owed Rectrix a duty of
good faith and fair dealing in connection with the Rectrix
Lease.

155. Under the Rectrix Lease, Rectrix had an expectation
that it would receive the true ruies and regulations that were
in effect at the Airport and that the BMAC would, in good faith,
allow Rectrix to alter the terms of the lease as appropriate.
Instead, the BMAC acted in bad faith by concealing the Minimum
Standards from Rectrix and delaying and interfering with
Rectrix’s ability to do business at the Airport as set forth
above. The BMAC’s actions secured an unfair advantage for the
Airport to sell tet fuel at Rectrix’s expense.

156. As a result of the BMAC’s actions, Rectrix has been
damaged in an amount to be proven at trial.

COUNT ELEVEN
(Against the BMAC for Specific Performance of the MOU)

157. Rectrix repeats and realleges paragraphs 1 through 156
as if fully set forth herein.

158. The BMAC required Rectrix to enter into the MOU in
order to self-fuel and to fuel planes that it leases or manages.
Under the FAA regulations, the MOU was not a requirement for
such fueling and the BMAC has not required any other FBO to

enter into an MOU in order to fuel.

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159. Notwithstanding that the MOU requirement was
discriminatory, Rectrix entered into the MOU and then the BMAC
required Rectrix to renew the terms of the MOU to fuel aircraft
that it owns or manages. However, the BMAC then informed
Rectrix that it could only fuel planes that it owns. On July
12, 2006, Rectrix sent the BMAC copies cf two exclusive
management contracts and requested that the BMAC allow Rectrix
te fuel the aircraft that it manages. The BMAC refused to cure
its breach of the MOU and continues to prevent Rectrix from
fueling aircraft other than those it owns.

160. Under the MOU, Rectrix is entitled to dispense jet
fuel to aircraft under its exclusive management. Rectrix is in
full compliance with the terms of the MOU. The BMAC breached
the MOU by refusing to ailow Rectrix to fuel aircraft under its
exclusive management in direct contravention of the plain terms
of the MOU.

161. The BMAC’s breach of the MOU has virtually shut down
Rectrix’s business and is causing tremendous damage to Rectrix’s
goodwill, and Rectrix has no adequate remedy at law.

162. Accordingiy, Rectrix seeks specific performance of the
MOU, and in particular the right to fuel aircraft that it

manages exclusively.

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COUNT TWELVE
(Against the BMAC for Breach of Covenant
of Good Faith and Fair Dealing -- MOU)

163. Rectrix repeats and realleges paragraphs 1 through 162
as if fully set forth herein.

164. The BMAC required Rectrix to enter into the MOU in
order to fuel aircraft it owns, as weil as those it leases or
manages. The BMAC owes Rectrix a duty of good faith and fair
dealing in connection with the MOU.

165. Under the MOU, Rectrix was entitled to dispense jet
fuel to airplanes under its exclusive management. Rectrix had
an expectation that defendants would, in good faith, allow
Rectrix to dispense jet fuel to the aircraft for which it had
such management agreements. Instead, the BMAC acted in bad
faith by sending Rectrix cease and desist letters and
threatening to evict it if it fueled any planes other than those
it owned in direct contravention of the plain terms of the MOU.
The BMAC’s actions secured an unfair advantage for the Airport
to seil jet fuel at Rectrix’s expense and violated the covenant
of good faith and fair dealing inherent in the MOU as set forth
above.

166. As a result of defendants’ actions, Rectrix has been

damaged in an amount to be proven at trial.

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COUNT THIRTEEN
(Against the BMAC, Gilmore and Mosby for
Tortious Interference With Contractual And
Prospective Business Relations -- Bombardier/CitationShares)

167. Rectrix repeats and realleges paragraphs 1 through 166
as if fully set forth herein.

168. Defendants the BMAC, Gilmore and Mosby knew that
Rectrix had entered into agreements to provide aviation services
for Bombardier and CitationShares, including management of their
planes, at the Airport. Defendants aiso knew that Rectrix
planned to provide fueling services to the managed planes of
Bombardier and CitationShares.

169. Defendants knowingly and intentionally interfered with
Rectrix’s ability to perform its contractual obligations to
Bombardier and CitationShares by demanding that Rectrix cease
fueling planes that it manages. Defendants threatened Rectrix
that if it did not cease fueling such planes, Rectrix would be
evicted from the Airport.

170. Because of defendants’ actions, Rectrix was forced to
breach its agreements with Bombardier and CitationShares and
disrupt its business.

171. The actions of defendants were willful and morally
reprehensible.

172. Rectrix was damaged by defendants’ tortious

interference in an amount to be proven at trial.

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JURY TRIAL DEMAND

Rectrix demands trial by jury, pursuant to Rule 38{(b) of

the Federal Rules of Civil Procedure, of all issues triable of

right by jury.

PRAYER FOR RELIEF

WHEREFORE, Rectrix demands judgment as follows:

(a)

on Counts One through Three, against ali defendants
except the BMAC, jointly and severally, awarding
Rectrix damages in an amount to be proven at trial, to
be trebled in accordance with 18 U.S.C. § 1964 (c),
with interest and the costs of this suit, including
attorneys’ fees;

on Count Four, against the BMAC, Dunning, Gilmore,
Mosby and Wheatley, enjoining the defendants from
restricting Rectrix from self-fueling at the Airport
and from seliing fuel to third parties and awarding
Rectrix damages, jointly and severally, in an amount
to be proven at trial, to be trebled, with interest
and costs of this suit, including attorneys’ fees;

on Count Five, against the BMAC, Dunning, Gilmore,
Mosby and Wheatley, jointly and severally, awarding
Rectrix damages in an amount to be proven at trial;

on Count Six, against all defendants, awarding Rectrix
damages in an amount to be proven at trial;

on Count Seven, against the BMAC, Dunning, Gilmore,
Mosby and Wheatley, enjoining such defendants from
harassing Rectrix in retaliation for exercising its
constitutionally guaranteed rights, including but not
limited to, enjoining defendants from wrongfully
evicting Rectrix from the Airport, and awarding costs
ot this suit, including attorneys’ fees;

on Count Eight, against all defendants except the

BMAC, jointly and severally, awarding Rectrix damages
in an amount to be proven at trial;

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(g) on Count Nine, against the BMAC and Dunning, awarding
Rectrix damages in an amount to be proven at trial;

{h}) -on Counts Ten and Twelve, against the BMAC, awarding
Rectrix damages in an amount to be proven at trial;

(i) on Count Eleven, against the BMAC, awarding Rectrix
specific performance of the MOU;

(J} on Count Thirteen, against the BMAC, Gilmore and
Mosby, awarding Rectrix damages in an amount to be
proven at trial;

{k) awarding ounitive damages where appropriate in an
amount to be determined by the trier of fact; and

(1) awarding any and all further relief that the Court
deems just and proper.

Dated: July 20, 2006

Respectfully submitted

By: Clare Ke

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